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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: GERMAN AUTOMOTIVE                         MDL No. 2796 CRB (JSC)

                                   8       MANUFACTURERS ANTITRUST
                                           LITIGATION
                                           _____________________________________/           ORDER RE: DEFENDANTS’
                                   9
                                                                                            MOTIONS TO DISMISS
                                  10       This Order Relates To:
                                           Dkt. Nos. 321, 339, 340, 341, 345, 377
                                  11
                                           _____________________________________/
                                  12
Northern District of California
 United States District Court




                                  13            Consumers and auto dealers have filed two related consolidated class actions against the

                                  14   five leading German car manufacturers—Audi AG, BMW AG, Daimler AG, Porsche AG, and

                                  15   Volkswagen AG (“VW AG”)—and their American subsidiaries. Plaintiffs allege that since the

                                  16   mid-1990s, Defendants have colluded to restrain trade in ways that constitute per se violations of

                                  17   the Sherman Act and that violate various state laws. Defendants have moved to dismiss the

                                  18   claims. Finding the allegations currently insufficient to state a claim, the Court GRANTS

                                  19   Defendants’ joint motion to dismiss, with leave to amend. The Court DENIES the German

                                  20   Defendants’ separate motions to dismiss for lack of personal jurisdiction.

                                  21                                          I. BACKGROUND1

                                  22            As alleged, U.S. consumers and auto dealers have been overpaying for Audi, BMW,

                                  23   Mercedes, Porsche, and Volkswagen cars for over twenty years. They have paid premiums for

                                  24   “German engineering,” a phrase that is synonymous with innovation and exceptional performance,

                                  25   but they have received something less.

                                  26
                                  27
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                                        Citations to “IPP ¶” and “DPP ¶” are respectively to the indirect purchaser plaintiffs’ and the
                                       direct purchaser plaintiffs’ complaints. (Dkt. Nos. 241, 244.) The IPPs are U.S. consumers; the
                                  28   DPPs are U.S. auto dealers.
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                                   1          Plaintiffs claim that in the mid-1990s, Defendants started intentionally slowing down the

                                   2   pace of innovation. (IPP ¶¶ 123, 139, 183; DPP ¶¶ 2, 76.) Doing so resulted in their cars having

                                   3   “fewer features and reduced performance.” (IPP ¶ 5.) Defendants took this approach, Plaintiffs

                                   4   maintain, in order to “reduce production costs” and “avoid[] price and technology wars.” (DPP

                                   5   ¶¶ 76, 81; see also IPP ¶ 92.) All the while they continued to charge premiums for cutting edge

                                   6   technology and engineering. (IPP ¶¶ 6, 92; DPP ¶¶ 68-69, 76.)

                                   7          At least 200 employees are alleged to have participated in the agreement to reduce

                                   8   innovation, meeting for decades in dozens of working groups and at trade association events. (IPP

                                   9   ¶¶ 123, 129, 196; DPP ¶¶ 77-79.) Since 2011 alone, at least 1,000 meetings in furtherance of the

                                  10   agreement have purportedly taken place. (IPP ¶ 123; DPP ¶ 77.)

                                  11          All sorts of vehicle components are claimed to have been covered by the agreement (e.g,

                                  12   brake controls, chassis, electronics, gas and diesel engines, clutches, transmissions, exhaust
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                                  13   systems, and drivetrains (IPP ¶¶ 123, 131; DPP ¶ 86)), although only two examples are explained

                                  14   in any detail in the complaints.

                                  15          Soft-top convertibles. Minutes from a meeting in Bad Kissingen, Germany document that

                                  16   Defendants discussed the cost, safety, weight, and technical risks of soft-top convertibles and then

                                  17   collectively agreed that their soft-top convertible roofs should only be allowed to open and close at

                                  18   vehicle speeds below 50 kilometers (or 31 miles) per hour. (IPP ¶ 138.) In memorializing this

                                  19   agreement, Defendants allegedly noted that there should be “[n]o arms race when it comes to

                                  20   speeds for [soft-top convertibles].” (Id. (alterations in complaint).)

                                  21          AdBlue tanks. As explained in the complaints, AdBlue is a substance that is used to

                                  22   breakdown emissions from diesel engines into less harmful compounds. (IPP ¶ 145; DPP ¶ 102.)

                                  23   It became popular in the early 2000s when Defendants started marketing their diesel cars as fuel-

                                  24   efficient alternatives to electric and hybrid cars. (IPP ¶¶ 144-45.) With the use of AdBlue

                                  25   burgeoning, Defendants reportedly determined that they could save up to €80 per car by agreeing

                                  26   on a standard tank size. (IPP ¶ 150.) They first agreed, in or around 2006, to only use AdBlue

                                  27   tanks that were between 17 and 23 liters. (IPP ¶¶ 149, 151.) Several years later they shifted to

                                  28   smaller, 8-liter tanks after their marketing departments touted the cost savings of smaller tanks and
                                                                                          2
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                                   1   the benefits of having more space in the cars for passengers, cargo, and equipment. (IPP

                                   2   ¶¶ 148, 152.) Eight-liter tanks were then ditched in favor of 16-liter tanks after Defendants

                                   3   learned in 2010 that new U.S. regulations would soon require tanks to contain enough AdBlue to

                                   4   last for 10,000 miles before needing to be refilled. (IPP ¶¶ 153-55.) Even the 16-liter tanks were

                                   5   not large enough to meet U.S. standards, according to the IPP complaint. (IPP ¶ 153.) But

                                   6   Plaintiffs maintain that Defendants agreed to use 16-liter tanks despite knowing this. Documents

                                   7   purportedly reflect that VW AG encouraged the others to stick with the 16-liter tanks despite

                                   8   regulatory concerns (IPP ¶ 159) and Audi AG cautioned against a potential “arms race with regard

                                   9   to tank sizes,” which “we should continue to avoid at all costs” (IPP ¶ 160).

                                  10          The European investigation. The above allegations, like most others in the complaints, are

                                  11   based largely on articles that were published in the German news magazine Der Spiegel. In the

                                  12   summer of 2017, Der Spiegel reported that the European Commission’s competition department
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                                  13   (“ECC”) and Germany’s Federal Cartel Office were investigating “allegations of an antitrust cartel

                                  14   among the Defendants.” (IPP ¶¶ 119-20.) As Plaintiffs note, ECC investigations only proceed

                                  15   when there are “reasonable indications of a likely infringement” of competition laws. (IPP ¶ 112

                                  16   (quoting Antitrust Manual of Procedures, EUROPA.EU, 102-109 (March 2012), Opening of

                                  17   Proceedings, Conditions for Opening of Proceedings).)

                                  18          VW AG and Daimler AG reportedly submitted proffers to the ECC as part of the agency’s

                                  19   leniency program. (IPP ¶¶ 113-14, 121; DPP ¶¶ 111-12.) In VW AG’s proffer, it admitted (1)

                                  20   that “Daimler, BMW, Volkswagen, Audi and Porsche made agreements ‘for many years, at least

                                  21   since the 1990s, up to today’ about the development of their vehicles, costs, suppliers and

                                  22   markets;” (2) that Defendants “discussed vehicle development, brakes, petrol and diesel engines,

                                  23   clutches and transmissions as well as exhaust treatment systems;” (3) that there had been an

                                  24   “exchange of internal, competitively sensitive technical data;” (4) that Defendants had jointly

                                  25   established “technical standards” and agreed to use “only certain technical solutions” in new cars;

                                  26   and (5) that “behavior in violation of cartel law” may have occurred. (IPP ¶ 124.)

                                  27          Plaintiffs assert that by seeking leniency from the ECC, VW AG and Daimler AG

                                  28   effectively “admitted the existence of a secret cartel.” (IPP ¶ 118; see also id. ¶ 115 (“Leniency is
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                                   1   not available for lesser anti-competitive infringements, nor is it available to a company that claims

                                   2   it did not participate in a cartel.” (citing Commission Notice on Immunity from Fines and

                                   3   Reduction of Fines in Cartel Cases, OFFICIAL JOURNAL OF THE EUROPEAN UNION (Aug.

                                   4   12, 2006), Introduction ¶ 1)).) In October 2017, following VW AG’s and Daimler AG’s proffers

                                   5   and in connection with the ECC’s investigation, the ECC conducted “dawn raids” in Germany at

                                   6   several of Defendants’ headquarters, including the headquarters of BMW AG, Daimler AG, and

                                   7   VW AG. (IPP ¶ 120; see also DPP ¶ 114.)

                                   8           The investigation is narrowed. In September 2018, after Plaintiffs had filed their

                                   9   complaints in this action, the ECC announced in a press release that the scope of its investigation

                                  10   was changing.2 The ECC explained in the press release that its investigation had not unearthed a

                                  11   vehicle-wide conspiracy to restrain technological development, but that it would be opening an in-

                                  12   depth investigation into one issue: whether Defendants “colluded, in breach of EU antitrust rules,
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                                  13   to avoid competition on the development and roll-out of technology to clean the emissions of

                                  14   petrol and diesel passenger cars.” (Dkt. No. 377-3 at 2 (emphasis omitted).) The ECC announced

                                  15   that specifically it would be examining whether Defendants colluded to limit the development and

                                  16   roll-out (i) of “selective catalytic reduction (‘SCR’) systems to reduce harmful nitrogen oxides

                                  17   emissions from passenger cars with diesel engines,” and (ii) of “Otto particulate filters (‘OPF’) to

                                  18   reduce harmful particulate matter emissions from passenger cars with petrol engines.” (Id.

                                  19   (emphasis omitted).)

                                  20           In its press release, the ECC emphasized that its formal investigation would concern

                                  21   “solely the emissions control systems” just identified. (Id.) Referring to Defendants as the “circle

                                  22   of five,” the Commission explained that although Defendants had also exchanged other technical

                                  23   information and had cooperated on other areas of vehicle development, there was no reason to

                                  24   believe that those exchanges were unlawful:

                                  25

                                  26   2
                                        Defendants filed a copy of that press release (see Dkt. No. 377-3) and the Court takes judicial
                                  27   notice of its contents as information that is from a source “whose accuracy cannot reasonably be
                                       questioned.” Fed. R. Evid. 201(b)(2). The Court will not consider Defendants’ supplemental
                                  28   briefing on the press release (see Dkt. No. 377), as Defendants did not seek the Court’s leave
                                       before filing the brief, as required. See Civil L.R. 7-3(d).
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                                                          [In addition to emissions control systems,] [n]umerous other technical
                                   1                      topics were discussed, including common quality requirements for car
                                   2                      parts, common quality testing procedures or exchanges concerning
                                                          their own car models that were already on the market. The “circle of
                                   3                      five” also had discussions on the maximum speed at which the roofs
                                                          of convertible cars can open or close, and at which the cruise control
                                   4                      will work. Cooperation also extended to the area of crash tests and
                                                          crash test dummies where the car companies pooled technical
                                   5
                                                          expertise and development efforts to improve testing procedures for
                                   6                      car safety.

                                   7                      At this stage the Commission does not have sufficient indications that
                                                          these discussions between the “circle of five” constituted anti-
                                   8                      competitive conduct that would merit further investigation. EU
                                                          antitrust rules leave room for technical cooperation aimed at
                                   9
                                                          improving product quality. The Commission’s indepth investigation
                                  10                      in this case concerns specific cooperation that is suspected to have
                                                          aimed at limiting the technical development or preventing the roll-out
                                  11                      of technical devices.
                                  12   (Id.)
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                                  13               Other agreements. Plaintiffs allege that Defendants reached other anticompetitive

                                  14   agreements in addition to their agreement to reduce innovation.

                                  15           •    Price fixing. Plaintiffs claim that Defendants agreed to “artificially fix, raise, stabilize,

                                  16                and control prices” for their cars in the United States. (E.g., IPP ¶ 261.) No specifics on

                                  17                this agreement are offered.

                                  18           •    Agreements on suppliers. Defendants allegedly agreed to use the same suppliers for

                                  19                certain vehicle components. Three concrete examples are offered in the complaints. In or

                                  20                around 2006, Defendants agreed that, if possible, AdBlue tanks should be produced by

                                  21                only two manufactures. (IPP ¶ 156.) In 2011, one of Defendant’s managers explained to

                                  22                a working group that Defendants needed to select the same supplier for diesel-motor

                                  23                sensors. (IPP ¶ 142.) And in 2013, one of Defendants’ working groups reviewed and

                                  24                criticized the performance of a shared supplier of suspension equipment. (IPP ¶ 141.)

                                  25           •    Agreement on steel purchases. Starting in the 1990s, Plaintiffs contend that Defendants

                                  26                and German steel manufacturers began using a shared pricing formula for steel purchases.

                                  27                (IPP ¶ 169.) The formula set a fixed long-term price for raw steel and a variable price,

                                  28                based on a selected price index, for scrap steel, precious metals and alloys—three
                                                                                              5
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                                   1               materials that are combined with raw steel to build cars. (IPP ¶¶ 166, 169; DPP ¶ 91.)

                                   2               The formula helped bridge a divide between Defendants and the steel manufacturers:

                                   3               Defendants wanted long-term contracts with fixed, predictable costs to effectively set car

                                   4               model prices, while steel manufacturers wanted short-term contracts that could be

                                   5               adjusted to account for fluctuations in the markets for these materials. (IPP ¶¶ 167-68;

                                   6               DPP ¶ 90.) Defendants apparently stopped using the variable index in 2015, after

                                   7               European officials began investigating anticompetitive conduct in the German steel

                                   8               industry. (IPP ¶ 175.) But soon after that decision, Plaintiffs submit that Defendants

                                   9               started communicating about setting up a replacement index. (IPP ¶¶ 175-76.)

                                  10          •    Agreement to fund scientific studies. As alleged, Defendants sponsored now-debunked

                                  11               scientific studies that were aimed at promoting their diesel vehicles. (IPP ¶ 178.)

                                  12               Plaintiffs claim that the studies were flawed because they purported to show that new
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                                  13               German-made diesel cars had low emissions, but at least some of those cars used

                                  14               emissions cheating software and were not in fact clean or safe for human health. (IPP

                                  15               ¶¶ 178-82.)

                                  16              Both the IPPs and DPPs assert that through the conduct described above Defendants have

                                  17   violated § 1 of the Sherman Act. The IPPs also assert that Defendants have violated various state

                                  18   antitrust, unfair competition, consumer protection, and unfair trade practices laws, and have

                                  19   triggered certain state unjust enrichment and disgorgement statutes. The IPPs and DPPs seek to

                                  20   bring class actions respectively on behalf of all persons and U.S.-based car dealers that, since the

                                  21   mid-1990s, bought or leased in the United States one or more new passenger cars manufactured or

                                  22   sold by Defendants. (IPP ¶¶ 4, 10, 245; DPP ¶ 129.)

                                  23              After the complaints were filed, Defendants filed a joint motion to dismiss for failure to

                                  24   state a claim. See Fed. R. Civ. P. 12(b)(6); (Dkt. No. 321). The German Defendants (Audi AG,

                                  25   BMW AG, Daimler AG, Porsche AG, and VW AG) also filed individual motions to dismiss for

                                  26   lack of personal jurisdiction. See Fed. R. Civ. P. 12(b)(2); (Dkt. Nos. 339, 340, 341, 345).

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                                  28   \\
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                                   1                                        II. LEGAL STANDARDS

                                   2          At the pleading stage, plaintiffs in civil proceedings must make “a prima facie showing” of

                                   3   personal jurisdictional over the defendants. CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d

                                   4   1066, 1073 (9th Cir. 2011) (quoting Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d

                                   5   1124, 1127 (9th Cir. 2010)). They cannot rely on “bare allegations” in doing so, but

                                   6   “uncontroverted allegations in the complaint must be taken as true.” Id. (citation omitted). If a

                                   7   prima facie case is made, the burden shifts to the defendants to “present a compelling case” for

                                   8   why the exercise of jurisdiction would be unreasonable. Id. at 1079 (quoting Burger King v.

                                   9   Rudzewicz, 471 U.S. 462, 477-78 (1985)).

                                  10          The complaints must also include factual allegations that, if true, would plausibly support a

                                  11   claim for relief. See Ashcroft v. Iqbal, 556 U.S. 662, 677-80 (2009); Bell Atlantic Corp. v.

                                  12   Twombly, 550 U.S. 544, 554-57 (2007). In the antitrust context, the Ninth Circuit has explained
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                                  13   that the facts that count in this assessment are “evidentiary facts.” Kendall v. Visa U.S.A., Inc.,

                                  14   518 F.3d 1042, 1047 (9th Cir. 2008). Evidentiary facts are those that can answer the questions

                                  15   “who, did what, to whom (or with whom), where, and when.” In re Musical Instruments & Equip.

                                  16   Antitrust Litig., 798 F.3d 1186, 1194, n.6 (9th Cir. 2015) (quoting Kendall, 518 F.3d at 1047).

                                  17          Unlike evidentiary facts, legal conclusions and conclusory facts will not be accepted as

                                  18   true. See Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action,

                                  19   supported by mere conclusory statements, do not suffice.”). When the nonconclusory facts are

                                  20   accepted, they “must plausibly suggest an entitlement to relief, such that it is not unfair to require

                                  21   the opposing party to be subjected to the expense of discovery and continued litigation.” Starr v.

                                  22   Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

                                  23                                   III. PERSONAL JURISDICTION

                                  24          The Court first considers the German Defendants’ motions to dismiss for lack of personal

                                  25   jurisdiction. Audi AG, BMW AG, Daimler AG, Porsche AG, and VW AG are German

                                  26   corporations. They also allegedly made the agreements at issue in Germany. Because they are

                                  27   foreign companies and the challenged conduct occurred abroad, they argue that this Court lacks

                                  28   personal jurisdiction over them.
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                                   1            In a federal antitrust case, a district court may not enter a binding judgment against a

                                   2   defendant that has insufficient contacts with the United States. See Int’l Shoe Co. v. Washington,

                                   3   326 U.S. 310, 319 (1945) (general standard); Action Embroidery Corp. v. Atl. Embroidery, Inc.,

                                   4   368 F.3d 1174, 1180 (9th Cir. 2004) (applied in antitrust context). Where, as here, the defendants

                                   5   are not “at home in the forum,” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,

                                   6   919 (2011), personal jurisdiction will be appropriate only if they “purposefully direct[ed] [their]

                                   7   activities” at the forum or “purposefully avail[ed] [themselves] of the privilege of conducting

                                   8   activities in the forum,” Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir.

                                   9   2004).

                                  10            During the relevant period, the German Defendants purposefully directed their activities at

                                  11   the United States. Through subsidiaries that they established in the United States, they annually

                                  12   sold hundreds of thousands of cars to auto dealers and consumers in this country. (DPP ¶¶ 16-18,
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                                  13   20-22, 25-26, 28-32, 34-36.) They designed their cars to meet federal and state motor vehicle

                                  14   regulations. (DPP ¶ 126; IPP ¶¶ 153-55 (alleging that Defendants chose to use larger AdBlue

                                  15   tanks in their U.S.-bound cars than in their Europe-bound cars because of U.S. emission

                                  16   standards).) Their executives publicly noted that the U.S. market was one of the “most

                                  17   important,” a “core region,” a “strategic pillar,” a “very high priority,” and a “second home.”

                                  18   (Opp’n, Dkt. No. 362 at 22, 26, 29-30, 32, 34 (quoting annual reports, press releases, and

                                  19   statements at annual meetings.)3 Indeed, they allegedly made billions of dollars selling their cars

                                  20   in the United States. (DPP ¶ 55.)

                                  21            The German Defendants, in short, targeted the United States as a market for their cars; and

                                  22   because the claims at issue are tied to the cars that they indirectly sold in the United States,

                                  23   personal jurisdiction over them is appropriate. Two well-known Supreme Court decisions support

                                  24   this conclusion.

                                  25            In World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980), the Court held that an

                                  26   Oklahoma court could not exercise personal jurisdiction “over a nonresident automobile retailer

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                                       3
                                  28     The Court may consider evidence presented outside the pleadings in assessing personal
                                       jurisdiction. See Dole Food Co. v. Watts, 303 F.3d 1104, 1108 (9th Cir. 2002).
                                                                                       8
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                                   1   and its wholesale distributor in a products-liability action, when the defendants’ only connection

                                   2   with Oklahoma [was] the fact that an automobile sold in New York to New York residents became

                                   3   involved in an accident in Oklahoma.” Id. at 287. In reaching that holding, the Court took care to

                                   4   distinguish the facts before it from a scenario that would have given rise to personal jurisdiction

                                   5   over the nonresident defendants:

                                   6                  [I]f the sale of a product of a manufacturer or distributor such as Audi
                                                      or Volkswagen is not simply an isolated occurrence, but arises from
                                   7
                                                      the efforts of the manufacturer or distributor to serve directly or
                                   8                  indirectly, the market for its product in other States, it is not
                                                      unreasonable to subject it to suit in one of those States if its allegedly
                                   9                  defective merchandise has there been the source of injury to its owner
                                                      or to others.
                                  10

                                  11   Id. at 297.
                                  12           Relying in part on World-Wide Volkswagen, a plurality of the Court in Asahi Metal
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                                  13   Industry Co. v. Superior Court, 480 U.S. 102 (1987), concluded that a Japanese valve
                                  14   manufacturer’s “mere awareness” that its valves would reach the forum State “in the stream of
                                  15   commerce” after it sold the valves to a Taiwanese tire manufacturer was insufficient to support
                                  16   that the valve manufacturer “purposefully avail[ed] itself of the privilege of conducting activities
                                  17   within the forum State.” Id. at 105, 109, 112-13 (O’Connor, J.). But the plurality explained that
                                  18   certain “[a]dditional conduct,” if present, could have established the “substantial connection
                                  19   between the defendant and the forum State necessary for a finding of minimum contacts”:
                                  20
                                                      Additional conduct of the defendant may indicate an intent or purpose
                                  21                  to serve the market in the forum State [and support personal
                                                      jurisdiction.] [F]or example, designing the product for the market in
                                  22                  the forum State, advertising in the forum State, establishing channels
                                                      for providing regular advice to customers in the forum State, or
                                  23
                                                      marketing the product through a distributor who has agreed to serve
                                  24                  as the sales agent in the forum State.

                                  25   Id. at 112 (citation omitted).
                                  26           The facts that were absent in World-Wide Volkswagen and Asahi, but which the Supreme
                                  27   Court noted could support personal jurisdiction over a foreign defendant, are sufficiently alleged
                                  28   here. During the over 20 year conspiracy that is claimed, Plaintiffs submit that more than 20
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                                   1   million of the German defendants’ cars were sold in the United States (DPP ¶ 54)—far from

                                   2   “simply an isolated occurrence.” World-Wide Volkswagen, 444 U.S. at 297. And those 20 million

                                   3   cars didn’t simply arrive in the United States through “the stream of commerce.” Asahi, 480 U.S.

                                   4   at 112. The German defendants “establish[ed] channels for . . . marketing [their] product[s] . . . in

                                   5   the [United States]” (see IPP ¶¶ 53-66; DPP ¶¶ 40-43), and they “design[ed] [their] product[s] for

                                   6   the market in the [United States]” (see IPP ¶¶ 153-55; DPP ¶ 126). Asahi, 480 U.S. at 112.4

                                   7           It is an “unexceptional proposition” that when a foreign manufacturer “seek[s] to serve a

                                   8   given . . . market,” the manufacturer may be subject to the jurisdiction of courts within that market

                                   9   even “without entering the forum.” J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 882 (2011)

                                  10   (plurality). Given the German Defendants’ efforts to target the U.S. market (and the success they

                                  11   had), this Court “has the power to subject [them] to judgment concerning that conduct.” Id. at

                                  12   884; see also Schwarzenegger, 374 F.3d at 802 (explaining that personal jurisdiction exists when a
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                                  13   foreign defendant directs his activities at the forum, the claim arises from that forum-directed

                                  14   conduct, and the exercise of jurisdiction is otherwise reasonable).

                                  15           Plaintiffs have made a prima facie showing of personal jurisdiction. The burden

                                  16   accordingly shifts to the German Defendants to “present a compelling case” for why the exercise

                                  17   of jurisdiction would be unreasonable. CollegeSource, 653 F.3d at 1079 (quoting Burger King,

                                  18   471 U.S. at 477); see also Asahi, 480 U.S. at 113-15. They have not met this burden.

                                  19           Defendants first assert that the European Union and Germany have sovereign interests in

                                  20   adjudicating this matter, as it involves German companies, German witnesses, and conduct in

                                  21   Germany. They argue that the exercise of jurisdiction here would conflict with those sovereign

                                  22   interests. A conflict with “the sovereignty of the defendant’s state” is a factor that courts consider

                                  23   in determining whether the exercise of personal jurisdiction is reasonable. CollegeSource, 653

                                  24   F.3d at 1079 (Dole Food, 303 F.3d at 1114). But Defendants have not persuaded the Court that

                                  25

                                  26   4
                                         In Williams v. Yamaha Motor Co., 851 F.3d 1015 (9th Cir. 2017), a case on which the German
                                  27   Defendants rely, there were no allegations that the Japanese defendant, Yamaha Motor Co. Ltd.,
                                       had designed the defective boat motors at issue for sale in the forum state of California. The Ninth
                                  28   Circuit’s conclusion that personal jurisdiction was lacking over the foreign defendant there, even
                                       though its U.S. subsidiary sold the motors in California, id. at 1022-25, is thus not controlling.
                                                                                        10
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                                   1   such a conflict exists. While Germany and the European Union are investigating Defendants’

                                   2   actions, Plaintiffs bring their cases for violations of U.S. antitrust laws based on conduct that is

                                   3   tied to the United States. This Court will not interfere with the sovereign interests of Germany

                                   4   and the European Union by considering whether Defendants violated U.S. law and harmed U.S.

                                   5   consumers.

                                   6          The German Defendants next note that hundreds of their employees are alleged to have

                                   7   been involved in the agreements in question and most (if not all) of those employees are located in

                                   8   Germany. If litigation in this forum continues, the German Defendants argue that the burdens will

                                   9   be significant, as witnesses and attorneys will need to shuttle back and forth between the United

                                  10   States and Europe. Inconveniences of the type asserted “will not overcome clear justifications for

                                  11   the exercise of jurisdiction” unless they are “so great as to constitute a deprivation of due process.”

                                  12   Hirsch v. Blue Cross, Blue Shield of Kansas City, 800 F.2d 1474, 1481 (9th Cir. 1986). At this
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                                  13   stage, the Court cannot conclude that the identified inconveniences are of this magnitude. If

                                  14   Plaintiffs’ cases move forward and the travel and expense burdens that are forecasted crystalize,

                                  15   the German Defendants may renew their inconvenience argument at a later date. See IMAPizza,

                                  16   LLC v. At Pizza Ltd., 334 F. Supp. 3d 95, 116 n.5 (D.D.C. 2018) (noting that “jurisdictional issues,

                                  17   like merits issues, are adjudicated in stages” and considering a Rule 12(b)(6) motion after

                                  18   determining that the plaintiffs made out a prima facie showing of personal jurisdiction).

                                  19          Plaintiffs have made a prima facie showing of personal jurisdiction and the German

                                  20   Defendants have not presented a compelling case for why the exercise of jurisdiction would be

                                  21   unreasonable. The Court thus concludes that it has personal jurisdiction over the German

                                  22   Defendants for Plaintiffs’ Sherman Act claims. Under the doctrine of pendent personal

                                  23   jurisdiction, the Court also exercises jurisdiction over the German Defendants for Plaintiffs’ state

                                  24   law claims, which are based on the same operative facts as their Sherman Act claims. See

                                  25   CollegeSource, 653 F.3d at 1076 (citing Action Embroidery, 368 F.3d at 1180-81). The German

                                  26   Defendants’ motions to dismiss for lack of personal jurisdiction are DENIED.

                                  27   \\

                                  28   \\
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                                   1                                      IV. SHERMAN ACT CLAIMS

                                   2             Section 1 of the Sherman Act forbids competitors from entering into agreements that

                                   3   unreasonably restrain trade. Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885

                                   4   (2007). Multiple anticompetitive agreements are claimed here, although the principal focus is on

                                   5   an agreement by Defendants to reduce innovation.

                                   6             If Defendants agreed to what is alleged—“a de facto whole car conspiracy” to reduce

                                   7   innovation (Opp’n Dkt. No. 360 at 20)—that agreement plausibly would have violated § 1.

                                   8   Plaintiffs maintain that the innovation-reducing agreement resulted in Defendants’ cars having

                                   9   “fewer features and reduced performance.” (IPP ¶ 5.) An agreement “to make a product of

                                  10   inferior quality . . . count[s] as [an] output reduction,” Philip E. Areeda & Herbert Hovenkamp,

                                  11   Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 1901d (3rd & 4th Eds.,

                                  12   2018 Cum. Supp. 2010-2017), and agreements to restrict output are per se illegal under § 1, see
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                                  13   Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 100 & n.21

                                  14   (1984).

                                  15             The question is whether the well-pled allegations plausibly support the output reducing

                                  16   agreement that is claimed. After considering that question next, the Court will later address the

                                  17   other agreements that are described in the complaints.

                                  18   A.        Agreement to Reduce Innovation

                                  19             The complaints identify two instances in which Defendants reached consensus on vehicle

                                  20   specifications. As alleged, they agreed not to manufacture convertibles with roofs that opened

                                  21   when the cars were traveling above a particular speed, and they agreed to use the same sized

                                  22   AdBlue tanks in their diesel-engine cars.

                                  23             Neither of these is a compelling example of an agreement “to make a product of inferior

                                  24   quality.” Areeda & Hovenkamp ¶ 1901d. The complaints do not suggest that consumers even

                                  25   want convertibles with roofs that open at speeds above 31 miles per hour, the chosen limit; and

                                  26   common sense suggests that there are safety reasons for why consumers would not want that

                                  27   feature. It’s also not clear if the selected 16-liter AdBlue tanks were inferior to larger tanks.

                                  28   Larger tanks would have needed to be refilled less often, but they also would have taken up more
                                                                                         12
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                                   1   space in the cars, as Defendants recognized. (IPP ¶¶ 148, 152.)

                                   2          Even assuming, though, that the convertible and AdBlue tank agreements reduced

                                   3   innovation and resulted in inferior cars, those two examples are not enough to support a “de facto

                                   4   whole car conspiracy” to reduce innovation. The two examples relate to niche vehicle features

                                   5   that are only found in a small subset of Defendants’ cars. Only two of 37 named IPPs allege that

                                   6   they purchased a convertible (IPP ¶¶ 34, 44), and only one alleges that he purchased a diesel-

                                   7   engine car (id. ¶ 26). To maintain lawsuits against Defendants on behalf of almost everyone in the

                                   8   United States who has purchased one of their cars (of any model type) over the past 20 years,

                                   9   more is needed.

                                  10          To support the broader agreement that they allege, Plaintiffs rely heavily on VW AG’s

                                  11   admissions to European antitrust authorities. To review, Plaintiffs allege that VW AG admitted to

                                  12   the ECC that:
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                                  13          1.       “Daimler, BMW, Volkswagen, Audi and Porsche made agreements ‘for many

                                  14                   years, at least since the 1990s, up to today’ about the development of their vehicles,

                                  15                   costs, suppliers and markets;” that

                                  16          2.       Defendants “discussed vehicle development, brakes, petrol and diesel engines,

                                  17                   clutches and transmissions as well as exhaust treatment systems;” that

                                  18          3.       there had been an “exchange of internal, competitively sensitive technical data;”

                                  19                   that

                                  20          4.       Defendants jointly established “technical standards” and agreed to use “only certain

                                  21                   technical solutions” in new vehicles; and that

                                  22          5.       “behavior in violation of cartel law” may have occurred.

                                  23   (IPP ¶ 124.)

                                  24          These admissions may seem significant at first glance, but it is hard to make much of them

                                  25   when they are examined more closely. The first admission is vague. That Defendants made

                                  26   agreements for many years “about the development of their vehicles, costs, suppliers and markets”

                                  27   says little about the scope of those agreements, and says nothing about the alleged agreement to

                                  28   reduce innovation.
                                                                                         13
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                                   1           The second admission is similar. VW AG admitted that Defendants “discussed vehicle

                                   2   development,” but there is no indication of what those discussions entailed. More detail is needed

                                   3   because a discussion among competing auto manufacturers about brakes, or about any of the other

                                   4   identified car parts, need not be anticompetitive. See Princo Corp. v. Int’l Trade Comm’n, 616

                                   5   F.3d 1318, 1335 (Fed. Cir. 2010) (explaining that collaboration among competitors can “reduce

                                   6   costs, facilitate innovation, eliminate duplication of efforts and assets, and share risks that no

                                   7   individual member would be willing to undertake alone”); FTC & Dep’t of Justice, Antitrust

                                   8   Guidelines for Collaborations Among Competitors 1 (2000) (noting that “to compete in modern

                                   9   markets, competitors sometimes need to collaborate,” and that collaboration may “not only [be]

                                  10   benign but procompetitive”).

                                  11           The third, fourth, and fifth admissions do a bit more for Plaintiffs. An “exchange of

                                  12   internal, competitively sensitive technical data” among Defendants may have been anticompetitive
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                                  13   and, as VW AG appears to have acknowledged, may have violated European cartel law.

                                  14   Defendants’ agreement to use “‘only certain technical solutions’ in new vehicles” also sounds

                                  15   similar to an agreement to reduce innovation. Yet even these allegations lack important

                                  16   specificity.

                                  17           For one thing, European and American antitrust laws are not uniform, so Defendants’

                                  18   possible violation of European cartel law does not necessarily mean that they violated the Sherman

                                  19   Act. See D. Daniel Sokol, Troubled Waters Between U.S. and European Antitrust, 115 Mich. L.

                                  20   Rev. 955, 970 (2017) (explaining that “European case law and enforcement on information

                                  21   sharing [among competitors] is more aggressive than the United States”).

                                  22           Even more importantly, an agreement to only use certain technical solutions is not the

                                  23   same as an agreement to reduce product quality. The former may be equivalent to “standard

                                  24   setting,” which “serves many useful ends, such as protecting consumers from inferior goods,

                                  25   increasing compatibility among products that must be interchangeable with the products of other

                                  26   manufacturers, or focusing customer comparison on essential rather than nonessential

                                  27   differences.” Areeda & Hovenkamp ¶ 2136a. For these reasons, “most instances of standard

                                  28   setting . . . are lawful.” Id. It is not appropriate to infer that Defendants reached a per se illegal
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                                   1   agreement to reduce product quality, which is what Plaintiffs allege, simply because they agreed to

                                   2   exchange “competitively sensitive technical data” and to use “only certain technical solutions.”

                                   3          Also of significance, VW AG’s admissions do not identify the specific types of

                                   4   competitively sensitive technical data that Defendants exchanged, or the technical solutions to

                                   5   which Defendants agreed. Maybe those exchanges and technical solutions touched on many

                                   6   different areas of vehicle development, as Plaintiffs allege. But it is also possible that the

                                   7   exchanges were more limited in scope. Indeed, perhaps the exchanges and technical solutions

                                   8   related only to the speed at which soft-top convertibles open and the size of AdBlue tanks, the two

                                   9   examples that Plaintiffs have identified in their complaints.

                                  10          VW AG’s admissions to European antitrust authorities, in short, are too general and too

                                  11   vague to plausibly support the broad agreement to reduce innovation that Plaintiffs allege.

                                  12          Other allegations require even more speculation. For example, putting aside VW AG’s
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                                  13   admissions, Plaintiffs argue it is significant that the ECC is investigating Defendants’ coordinated

                                  14   activities. But courts in this district have explained that government antitrust investigations

                                  15   ordinarily carry “no weight in pleading an antitrust conspiracy,” for it is “unknown whether the

                                  16   investigation[s] will result in indictments or nothing at all.” In re Graphics Processing Units

                                  17   Antitrust Litig., 527 F. Supp. 2d 1011, 1024 (N.D. Cal. 2007); see also In re Capacitors Antitrust

                                  18   Litig., 106 F. Supp. 3d 1051, 1064 (N.D. Cal. 2015).

                                  19          The ECC investigation at issue proves why this skepticism is well founded. Since

                                  20   Plaintiffs filed their complaints, the scope of that investigation has narrowed significantly. The

                                  21   ECC was initially investigating whether Defendants had unlawfully colluded on numerous areas

                                  22   of vehicle development. But having determined from its initial investigation that Defendants’

                                  23   collaboration was mostly akin to standard setting, the ECC is now only looking into whether

                                  24   Defendants colluded on the development of certain emissions technologies. (See Dkt. No. 377-3

                                  25   at 2.) That targeted investigation into one area of vehicle development does little to support a

                                  26   “whole car conspiracy” to reduce innovation.

                                  27          Some allegations in the complaints do support the expansive agreement to reduce

                                  28   innovation that is claimed, but these allegations are not well pled. For example, Plaintiffs allege
                                                                                         15
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                                   1   that the innovation-reducing agreement covered “almost all areas of automotive development.”

                                   2   (DPP ¶ 86 (emphasis omitted); accord IPP ¶ 131.) Absent are evidentiary facts supporting this

                                   3   allegation. It is a conclusory factual statement and will not be accepted as true. See Iqbal, 556

                                   4   U.S. at 678-79.

                                   5          Allegations about how Defendants used working groups and trade associations to further

                                   6   their “whole car conspiracy” also lack sufficient detail. Although the IPPs spend more than a

                                   7   dozen pages of their complaint discussing these working groups and trade associations, they

                                   8   almost never identify what was agreed to in these meetings and instead only vaguely refer to

                                   9   “clandestine agreements to limit technological innovation.” (IPP ¶ 129.) More facts are needed to

                                  10   plausibly support that Defendants used working groups and trade associations to reach the broad

                                  11   anticompetitive agreement that is alleged. See In re Musical Instruments, 798 F.3d at 1196

                                  12   (“[M]ere participation in trade-organization meetings where information is exchanged and
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                                  13   strategies are advocated does not suggest an illegal agreement.”).

                                  14          As the Supreme Court noted in Twombly, antitrust discovery can be “sprawling, costly, and

                                  15   hugely time-consuming,” and can “push cost-conscious defendants to settle even anemic cases.”

                                  16   550 U.S. at 559 & n.6. These concerns are at play here. Plaintiffs propose two class actions that

                                  17   would include almost every purchaser and dealer of German cars in the United States over the past

                                  18   20 years. Discovery would require Defendants to search through decades of information; and

                                  19   because Plaintiffs allege that Defendants’ agreement covered most (if not all) areas of vehicle

                                  20   development, discovery would reach into almost every nook and cranny at five giant automakers.

                                  21          With the potential for such a massive and expensive factual investigation, the Court

                                  22   “retain[s] the power to insist upon some specificity in pleading.” Id. at 558 (citation omitted).

                                  23   Before Plaintiffs are allowed to pursue such a broad antitrust claim, they must do more than point

                                  24   to a European antitrust investigation (the scope of which is now much narrower than Plaintiffs’

                                  25   claims), two examples of agreements by Defendants to use certain technical standards, and

                                  26   Defendants participation in working groups and trade associations. Even when viewed together,

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                                   1   these allegations do not plausibly support that Defendants reached a “de facto whole car

                                   2   conspiracy” to reduce innovation.5

                                   3   B.      The Other Agreements

                                   4           While the principal focus of the complaints is on the asserted agreement to restrain

                                   5   innovation, Plaintiffs also allege that Defendants violated § 1 by (i) fixing prices, (ii) agreeing to

                                   6   only use certain part suppliers, (iii) using a shared pricing formula for steel purchases, and (iv)

                                   7   jointly funding now-debunked scientific studies that were aimed at promoting their diesel cars.

                                   8   The allegations do not support these claims.

                                   9           No factual allegations support price fixing. Plaintiffs simply state in the Claims for Relief

                                  10   sections of their complaints that Defendants “agree[d] to fix, increase, maintain and/or stabilize

                                  11   prices of German Automobiles sold in the United States.” (DPP ¶ 153; see also IPP ¶ 261

                                  12   (Defendants “entered into a continuing agreement . . . to artificially fix, raise, stabilize, and control
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                                  13   prices for new German Passenger Vehicles in the United States”). These are conclusory

                                  14   statements and will not be accepted as true. See Iqbal, 556 U.S. at 678.

                                  15           For the other three agreements, even if they were reached it is unclear how Plaintiffs were

                                  16   injured by them. If, as is alleged, the five leading German car makers agreed to coordinate their

                                  17   purchases of car parts and steel, the prices they paid for those inputs would presumably have

                                  18   dropped. See, e.g., Thomas A. Piraino, Jr., A Proposed Antitrust Approach to Collaborations

                                  19   Among Competitors, 86 Iowa L. Rev. 1137, 1178 (2001) (“If, for example, many buyers in the

                                  20   relevant market participate in a purchasing joint venture, the venture is more likely to give those

                                  21   buyers the clout to lower their purchasing costs.”); Areeda & Hovenkamp ¶ 2135b (explaining that

                                  22   the most common purpose of “joint purchasing arrangements” is “to obtain lower prices on more

                                  23   favorable terms”). Lower input prices would likely have benefited car purchasers, not harmed

                                  24   them. See John B. Kirkwood, Powerful Buyers and Merger Enforcement, 92 B.U. L. Rev. 1485,

                                  25

                                  26   5
                                         As the Court reads the complaints, Plaintiffs do not offer the soft-top convertible and AdBlue
                                  27   tank allegations in support of separate, component-level Sherman Act claims. They instead offer
                                       those allegations to support the broader “whole car conspiracy” to reduce innovation that is
                                  28   claimed. The Court, then, will not separately consider whether the soft-top convertible and
                                       AdBlue tank agreements would plausibly violate the Sherman Act on their own.
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                                   1   1505 n.75 (2012) (noting that “[l]ower input prices generally yield lower prices and greater output

                                   2   of end products” (quoting Jonathan M. Jacobson & Gary J. Dorman, Joint Purchasing,

                                   3   Monopsony and Antitrust, 36 Antitrust Bull. 1, 4 (1991))).

                                   4           Plaintiffs claim that they were harmed because any savings from the car-part and steel

                                   5   supplier agreements were not passed on to them. (See, e.g., DPP ¶ 87 (alleging that with respect to

                                   6   the steel-purchasing agreement, “Defendants pocketed the cost savings and did not pass along a

                                   7   single cent to the Dealer Plaintiffs”).) That result would have been odd, as “[a] firm will normally

                                   8   pass on some portion of its cost-per-unit savings to consumers even if it is a profit-maximizing

                                   9   monopolist.” Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1145 n.11 (9th Cir. 2003).

                                  10   But in any event, Plaintiffs do not explain why Defendants were required to pass on their cost

                                  11   savings. If Defendants had collectively agreed that none of them would share cost savings with

                                  12   consumers, then perhaps that agreement would have unreasonably restrained trade and harmed
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                                  13   consumers. But the complaints do not include any factual allegations supporting such an

                                  14   agreement.

                                  15           As for Defendants funding of now-debunked studies on diesel emissions, Plaintiffs do not

                                  16   explain how they were injured or how trade was restrained by this conduct. They do not allege

                                  17   that these scientific studies affected the price of their cars or that they relied on these studies in

                                  18   purchasing their cars; nor do they dispute that the principal study discussed in the IPP complaint

                                  19   was never published. (See Joint Mot., Dkt. No. 321 at 41 n. 17.)

                                  20           To support a Sherman Act claim, a private plaintiff must “allege some credible injury

                                  21   caused by the [challenged] conduct.” Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of California, 190 F.3d

                                  22   1051, 1056 (9th Cir. 1999). The nonconclusory, evidentiary facts in the complaints do not support

                                  23   a credible injury to Plaintiffs resulting from Defendants’ agreements regarding part suppliers, steel

                                  24   purchases, and scientific studies.

                                  25                                                    * * *

                                  26           The well-pled allegations do not plausibly support any of the anticompetitive agreements

                                  27   that are alleged. The Court accordingly GRANTS Defendants’ joint motion to dismiss Plaintiffs’

                                  28   Sherman Act claims. Having reached that conclusion, the Court need not consider other
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                                   1   arguments for dismissal of the Sherman Act claims that Defendants have raised.

                                   2                                      V. STATE LAW CLAIMS

                                   3          In addition to their Sherman Act claims, the IPPs also assert that Defendants violated

                                   4   various state laws. The factual bases and theories of injury for these claims are the same as those

                                   5   for the Sherman Act claims. Like the Sherman Act claims, then, the state law claims are not well

                                   6   pled. Having reached that conclusion, the Court will not consider additional claim-specific

                                   7   arguments that Defendants have made for dismissal of the state law claims. Their joint motion to

                                   8   dismiss the state law claims is GRANTED.

                                   9                                           VI. CONCLUSION

                                  10          Plaintiffs have not stated a claim for relief. It is not a certainty, however, that they cannot

                                  11   allege facts sufficient to address the identified deficiencies. The Court thus grants them leave to

                                  12   amend their complaints. To the extent that they choose to do so, they must file their amended
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                                  13   complaints within 45 days of this Order.

                                  14          IT IS SO ORDERED.

                                  15   Dated: June 17, 2019

                                  16

                                  17

                                  18                                                                 CHARLES R. BREYER
                                                                                                     United States District Judge
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